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                         Exhibit 9
            Declaration of Lieutenant A. Fellows


                    Mostafa v. Garland, et al.,
              No. 20-cv-00694-PAB-SKC (D. Colo.)
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-00694-PAB-NYW

  MOSTAFA KAMEL MOSTAFA,

  Plaintiff,

  v.

  MERRICK GARLAND, United States Attorney General, in his official capacity,
  CHRISTOPHER WRAY, FBI Director, in his official capacity,
  MICHAEL CARVAJAL, BOP Director, in his official capacity,
  B. TRUE, ADX Warden, in his official capacity,
  TUTOILUMUNDO, ADX Unit Manager, in his official capacity,
  MACMILLAN, ADX Facilities Department, in his official capacity,
  FOLLOWS, ADX Medical Department Manager, in her official capacity,
  LOEWE, ADX officer, in his official capacity,
  NORJANO, ADX Officer, in his official capacity,
  CHOROSEVIC, ADX Occupational Therapist, in his individual capacity,
  PARRY, ADX Officer, in his individual capacity,
  AVERIT, ADX Officer, in his individual capacity,
  GARDUNO, ADX Lieutenant, in his individual capacity,
  WILLIAM, ADX Nurse, in his individual capacity,
  HUDELSTON, ADX Nurse, in his individual capacity,
  STERETT, ADX Doctor, in his individual capacity,
  ARMIJO, ADX Lieutenant, in his individual capacity, and
  EDWARDS, ADX Officer, in his individual capacity.

  Defendants.


                        DECLARATION OF LIEUTENANT A. FELLOWS


            I, Lieutenant A. Fellows, pursuant to 28 U.S.C. § 1746, and based upon my personal

  knowledge and information made known to me from official records reasonably relied upon by

  me in the course of my employment, hereby declare as follows relating to the above-titled

  matter:
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         1.      I am commissioned as a Lieutenant with the United States Public Health Service

  (“USPHS”). I received my commission from USPHS on July 5, 2019.

         2.      In my capacity as a USPHS officer, I am currently assigned as a Behavioral

  Health Provider for the United States Department of Defense for the United States Army.

         3.      Prior to my current assignment, I served with the Federal Bureau of Prisons at the

  Federal Correctional Complex in Florence, Colorado (“FCC Florence”). Specifically, as a

  USPHS officer, I served as the Assistant Health Services Administrator for the United States

  Penitentiary, Administrative Maximum (“ADX”) from July 5, 2019 to December 10, 2021. All

  of my actions with regard to Plaintiff were done in the performance of a medical or related

  function within the scope of my employment as a commissioned officer with USPHS.

         Pursuant to the provisions of 28 U.S.C. § 1746, I declare under penalty of perjury that the

  foregoing is true and correct to the best of my information, knowledge, and belief.

         Executed on this 16th day of August 2022, in Schofield Barracks, Hawaii.


                                                       /s/ A. Fellows
                                                       LT. Angela Fellows, LCSW
                                                       Behavioral Health Provider
                                                       United States Public Health Service
                                                       United States Army




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